Case 4:18-cr-00007-SEB-VTW Document 1 Filed 04/25/18 Page 1 of 3 PagelD #: 1

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF INDIANA eN
NEW ALBANY DIVISION Oo Ef)
1) y
. oe.
UNITED STATES OF AMERICA, as Suny & Opp
“Ms
Plaintiff, ) “6 Neice
) pot hep 7 <4 LT W
V. ) CAUSE NO, “i '}O°C*
)
ADRIAN SMITH )
)
)
Defendant. )
INDICTMENT

[18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm]
The Grand Jury charges that:
On or about February 22, 2018, in Jefferson County, in the Southern District of Indiana,
ADRIAN SMITH, defendant, did knowingly possess in commerce and affecting commerce one
or more firearms, to wit:

1. an Anderson Manufacturing, Model AM-15, Multi-caliber rifle, bearing serial
number 15147095;

2. a Diamondback Firearm, Model DB-10.308 caliber rifle, bearing serial number
DB3900932;

3. a12 gauge shotgun, bearing serial number P979949;

4. a Romarm/Cugir, Model WASR 7.62 x 39mm rifle, bearing serial number
P979949;

5. a Glock, Model 22, .40 caliber handgun, bearing serial number GPG629;

6. a Ruger, Model 22LR, 10/2245, .22 caliber rifle, bearing serial number 0005-
56369; and

7. a Mossburg, 12-gauge shotgun, bearing serial number T527895,
Case 4:18-cr-00007-SEB-VTW Document1 Filed 04/25/18 Page 2 of 3 PagelD #: 2

after having been convicted of a crime punishable by a term of imprisonment exceeding one (1)
year, to wit: ADRIAN SMITH was convicted of a felony Domestic Battery in Jefferson County,
Indiana, under cause number 39D01-1609-F5-862 on or about June 13, 2017.

All of which is in violation of Title 18, United States Code, Section 922(g)(1).

FORFEITURE

1. Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 18, United States Code, Sections 924(d) and Title 28, United
States Code, Section 2461(c), as part of any sentence imposed.

2. Pursuant to Title 18, United States Code, Section 924(d), if convicted of the
offense set forth in this Indictment, the defendant shall forfeit to the United States “any firearm
or ammunition involved in or used in” the offense.

3. The property subject to forfeiture includes, but is not necessarily limited to:

A. an Anderson Manufacturing, Model AM-15, Multi-caliber rifle, bearing
serial number 15147095;

B. a Diamondback Firearm, Model DB-10.308 caliber rifle, bearing serial
number DB3900932;

C. a 12 gauge shotgun, bearing serial number P979949;

D. a Romarm/Cugir, Model WASR 7.62 x 39mm rifle, bearing serial number
P979949;

E. a Glock, Model 22, .40 caliber handgun, bearing serial number GPG629;
F, a Ruger, Model 22LR, 10/2245, .22 caliber rifle, bearing serial number

0005-56369;
Case 4:18-cr-00007-SEB-VTW Document1 Filed 04/25/18 Page 3 of 3 PagelD #: 3

G. a Mossburg, 12-gauge shotgun, bearing serial number T527895;
H. all ammunition recovered.
4. The United States shall be entitled to forfeiture of substitute property pursuant to
Title 21, United States Code, Section 853(p), and as incorporated by Title 28, United States
Code, Section 2461(c), if any of the property described above in paragraph 3, as a result of any

act or omission of the defendant:

 

A. cannot be located upon the exercise of due diligence;

B. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the court;

D. has been substantially diminished in value; or

E. has been commingled with other property which cannot be divided

without difficulty.
5. In addition, the United States may seek civil forfeiture of the property described
in Paragraph 3.
A TRUE BILL:
EPERSON

JOSH J. MINKLER
United States Attorney

 

 
